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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                                         CIVIL ACTION

 VERSUS                                                                           NO. 14-0023

 DARIN FIELDS                                                                     SECTION A(5)



                                        ORDER AND REASONS

          Before the Court is a Motion to Vacate under 28 U.S.C. § 2255 (Rec. Doc. 461) filed by

Darin Fields. Fields pled guilty to conspiracy to possess with intent to distribute cocaine hydrochloride

and cocaine base. Fields was convicted as a career offender to a 151-month within-guidelines sentence.

Fields appealed the sentence, arguing that this Court abused its discretion by denying his pre-sentence

motion for a downward variance. The Fifth Circuit affirmed the sentence.

          Relief under 28 U.S.C. § 2255 is reserved for violations of constitutional rights and for a narrow

range of injuries in federal criminal cases that could not have been raised on direct appeal and would

result in a fundamental miscarriage of justice. United States v. Petrus, 44 F.3d 1004 (5th Cir. 1994)

(citing United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992)). A district court may deny a § 2255

motion without conducting any type of evidentiary hearing if “the motion and the files and records of

the case conclusively show that the prisoner is entitled to no relief.” United States v. Arguellas, 78 Fed.

App’x 984, 986 (5th Cir. 2003) (quoting 28 U.S.C. § 2255; United States v. Bartholomew, 974 F.2d

39, 41 (5th Cir. 1992)). No hearing is necessary if the issues raised have been previously decided on

direct appeal, contain no constitutional violation, or lack support in the record. United States v.

McCollom, 664 F.2d 56, 59 (5th Cir. 1981) (citing Buckelew v. United States, 575 F.2d 515 (5th Cir.

1978)).

          First, Fields repeats the same argument he raised on appeal, challenging the inclusion of a 2003

state conviction in the calculation that triggered his career offender sentencing enhancement. The 2003


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conviction was for possession with intent to distribute marijuana. Because this issue has been decided

on direct appeal, the Court finds that no evidentiary hearing is necessary on this basis.

        Next, Fields challenges the inclusion of a 2006 state conviction in the calculation that triggered

his career offender sentencing enhancement. This is an issue that Fields failed to raise on appeal. Since

this is a non-constitutional claim that could have been raised on direct appeal but was not, the Court

finds that Fields is not entitled to relief on this basis and no hearing is required.

        Lastly, Fields raises a claim for ineffective assistance of counsel. A petitioner seeking relief

must demonstrate that counsel’s performance was deficient and that the deficient performance

prejudiced her defense. Strickland v. Washington, 466 U.S. 668, 697 (1984). A petitioner bears the

burden of proof on such a claim and “must demonstrate, by a preponderance of the evidence, that his

counsel was ineffective.” Jernigan v. Collins, 980 F.2d 292, 296 (5th Cir. 1993); see also Clark v.

Johnson, 227 F.3d 273, 284 (5th Cir. 2000). If a court finds that a petitioner has made an insufficient

showing as to either of the two prongs of inquiry, it may dispose of the ineffective assistance claim

without addressing the other prong. Strickland, 466 U.S. at 697.

        To prevail on the deficiency prong of the Strickland test, a petitioner must demonstrate that

counsel’s conduct fails to meet the constitutional minimum guaranteed by the Sixth Amendment. See

Styron v. Johnson, 262 F.3d 438, 450 (5th Cir. 2001). “Counsel’s performance is deficient if it falls

below an objective standard of reasonableness.” Little v. Johnson, 162 F.3d 855, 860 (5th Cir. 1998).

Analysis of counsel’s performance must take into account the reasonableness of counsel’s actions in

light of all the circumstances. See Strickland, 466 U.S. at 689. “[I]t is necessary to ‘judge ... counsel’s

challenged conduct on the facts of the particular case, viewed as of the time of counsel’s conduct.’”

Lockhart v. Fretwell, 506 U.S. 364, 371 (1993) (quoting Strickland, 466 U.S. at 690). A petitioner

must overcome a strong presumption that the conduct of his counsel falls within a wide range of

reasonable representation. See Crockett v. McCotter, 796 F.2d 787, 791 (5th Cir.1986); Mattheson v.

King, 751 F.2d 1432, 1441 (5th Cir. 1985).
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        The Court agrees with the government that this argument is undeveloped and lacks support in

the record. As the government notes, defense counsel’s advocacy on Fields’s motion for downward

variance persuaded the Court to impose a sentence on the lowest end of the guidelines, despite the

Court’s initial inclination to sentence Fields to a sentence on the highest end of the guidelines. In light

of this, Fields has failed to overcome the strong presumption that his counsel’s conduct was reasonable.

Because Fields has not met the deficiency prong of the Strickland test, the Court will not address the

second prong. The Court finds that Fields is not entitled to relief on his ineffective assistance of counsel

claim and no hearing is required.

        Accordingly;

        IT IS ORDERED that Motion to Vacate under 28 U.S.C. § 2255 (Rec. Doc. 461) is

DENIED.

        New Orleans, Louisiana, this 18th day of May, 2016



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                                                                    JUDGE JAY C. ZAINEY
                                                                UNITED STATES DISTRICT JUDGE




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